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                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


 MUTUAL OF OMAHA
 MORTGAGE, INC.

                 Plaintiff,

 v.                                          CASE NO. 8:22-cv-01660-TPB-JSS

 WATERSTONE MORTGAGE
 CORPORATION,

                 Defendant.


        DEFENDANT WATERSTONE MORTGAGE CORPORATION’S
      MOTION TO STRIKE REBUTTAL EXPERT CANDICE L. ROSEVEAR

I.     INTRODUCTION

       The expert witness Mutual disclosed for the first time on July 14, 2023,

Candice Rosevear, just two weeks before the close of discovery, is not a rebuttal

expert. Rather, Rosevear offers an entirely new damages estimate of $28 million,

which is exponentially higher than the $4,440,002.42 demand by Mutual that has

been the target of Waterstone’s defense efforts. Mutual elected not to retain a

damages expert and instead support its $4,440,002.42 demand with an analysis

prepared by the president of the division that housed the branches at issue, Jeff

Gennarelli, and one of its finance executives (the “Gennarelli Analysis”).

Waterstone deposed Mutual’s corporate representative based on the Gennarelli

Analysis and hired a damages expert, Steve Oscher, to rebut that analysis. For many

months, Waterstone has been defending what it believed was a $4.4 million case, not
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a $28 million case. Mutual does not get a redo. A rebuttal expert is to address

assertions raised by an opponent’s expert. Here, Rosevear does not rebut Oscher’s

opinions — which focus on the speculative and unreliable nature of the Gennarelli

Analysis. In fact, Rosevear testified she did not analyze the Gennarelli Analysis and

was not familiar with its particulars. Rather, Rosevear felt no obligation to

understand how her model differed from Gennarelli’s, testifying, “my task is to

conduct an independent analysis that’s not influenced by prior models.”

       Waterstone will be substantially prejudiced by a new damages estimate nearly

seven times higher than (and approximately $23.5 million greater than) Mutual’s

damages pursued throughout the case, injected two weeks before the close of

discovery. Mutual’s untimely disclosure of an opening expert witness violates Rule

26, and this Court should strike the Rosevear Report in its entirety pursuant to Rule

37(c)(1).

II.    RELEVANT BACKGROUND

       A. Mutual’s Alleged Damages.

       Mutual articulated three categories of damages: (1) unquantified lost profits

based on loans allegedly diverted to Waterstone (“Category 1 Damages”); (2)

$4,440,002.42 in profits the branches would have made if they had stayed affiliated

with Mutual from June 30, 2022 to December 31, 2023 (“Category 2 Damages”);

and (3) $750,000 in “ill-gotten gains” (“Category 3 Damages”). (Exhibit 1 at

Mutual’s Resp. to Interrog. 1.) The Court’s October 12, 2022, Scheduling Order

required Mutual to submit its expert disclosures by March 1, 2023. (DE 34, ¶ 2.)

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Mutual made the strategic choice not to retain an affirmative damages expert to

support any of its alleged damages.

      To date, Mutual has not made any effort to quantify its Category 1 Damages

(see Gennarelli Dep. Tr. (Exhibit 2) 21:22-28:12, 30:23-31:1), and has now stipulated

to the dismissal of the alleged Category 3 Damages. (DE 76.)

      To support its Category 2 Damages and $4,440,002.42 demand, Mutual relies

on the Gennarelli Analysis, attached as Exhibit 3, and presented Gennarelli as its

Federal Rule 30(b)(6) witness on various topics targeting Mutual’s alleged damages.

(See Exhibit 4 at Ex. A.)

      B. Waterstone’s Damages Expert: Steve Oscher.

      Waterstone retained Steven Oscher as its damages expert to opine on Mutual’s

three categories of damages. (See Exhibit 5, “Oscher Report.”) With respect to the

$4,440,002.42 Category 2 damages, Oscher’s focus was the Gennarelli Analysis.

Specifically, Oscher concluded that (1) without the supporting documentation relied

upon by Mutual, the demand reflected in Gennarelli’s Analysis cannot be verified or

tested (Ex. 5 at 10.); (2) the Gennarelli Analysis was based on unsupported

assumptions including that the branches would have remained open for 18 months

despite none of the employees having any contractual obligation to remain employed

by Mutual for any set period of time (id.); (3) the loan volumes produced by the three

branch managers should not have been included in Gennarelli’s calculation (id. at 10-

11); and (4) the Gennarelli Analysis projections were derived from data from 2020-

2021, a historically anomalous time period in the mortgage lending industry

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triggered by the COVID-19 pandemic that is not representative of the current market.

(Id. at 11-12.) Further, to demonstrate the unreasonableness of Gennarelli’s reliance

on COVID-era data, Oscher compared Gennarelli’s projections to data from the

Mortgage Bankers Association (“MBA”). (Id. at 13.) Oscher’s reference to MBA data

was clearly in the context of a critique of the Gennarelli Analysis.

       C. The Rosevear “Rebuttal” Report.

       On July 14, 2023, Mutual disclosed Rosevear and her report, attached as

Exhibit 6 (the “Rosevear Report”), which asserts for the first time that Mutual’s

damages for lost profits are “approximately $28 million.” (Ex. 6 at 5.) Tellingly, the

report admits that Rosevear was not asked to respond to Oscher’s report or rebut his

conclusions, but rather, Rosevear was “asked by counsel for Mutual to calculate the

lost profits … resulting from the closure of [Mutual’s] Tampa and Daytona

branches.” (Id. at 3.) To do so, Rosevear states she employed “a well-known

valuation technique known as a discounted cash flow (DCF) analysis to estimate the

present value of lost profits.” (Id. at 5.) Outside of a footnote citing to a dataset used

by Oscher, the Rosevear Report’s analysis does not even mention the Oscher report.

(Id. at 3.) Moreover, the Rosevear Report ignores Mutual’s prior damages model

entirely, omitting reference to the $4.4 million-dollar demand, the 18-month period,

and Gennarelli’s calculations.

       Instead, the Rosevear Report outlines two brand new methods for calculating

lost profits. (Id. at 6.) The first, a “peer” model, looks at monthly sales for Mutual’s

St. Louis and Maryland branches to predict loan sales for the former Daytona and

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Tampa branches. (Id. at 8.) The second, an “MBA-Based Model,” uses quarterly

MBA data to predict future sales for Tampa and Daytona. (Id. at 9.) Neither

methodology was used by Gennarelli (see Ex. 3), and therefore, neither was reviewed

by Oscher. (See Ex. 5.)

      D. Rosevear’s Deposition Testimony.

      Waterstone deposed Rosevear on July 20, 2023 (given that discovery would

soon close, on July 31, 2023). Rosevear admitted her report has nothing to do with

the Gennarelli Analysis, that she was unaware of the particulars of the Gennarelli

Analysis, and that her analysis is markedly different:

       • Rosevear did not compare her analysis to Gennarelli’s (Rosevear Dep. Tr.

          (Exhibit 7) 7:21-8:2) or attempt to determine whether the Gennarelli

          estimate is accurate. (Id. at 23:4-7, 23:20-24:4.)

       • Rosevear knew of the Gennarelli analysis but never asked Mutual why she

          was not analyzing it (id. at 21:20-22:6), and stated “I didn’t analyze that

          number or spend timing thinking about that number in particular, I did

          my own independent analysis.” (Id. at 22:6-14.)

       • Rosevear could not say whether she relied upon the same data as

          Gennarelli because she “didn’t analyze [his spreadsheet] in depth.” (Id. at

          25:3-8.)

       • Mutual retained Rosevear to independently calculate damages, not to

          support the Gennarelli model. (Id. at 27:7-9; 31:19-32:5.)



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       • Rosevear had no discussions with anyone at Mutual about why there was

           a multi-million dollar difference between the Gennarelli Analysis and her

           $28 million estimate. (Id. at 29:22-30:11.)

       • Rosevear projected damages out ten years, to 2031, whereas Gennarelli

           projected damages out 18 months (id. at 43:1-45:9), with Rosevear noting

           “I don’t understand fully why 18 months is selected.” (Id. at 45:8-9.)

       • Rosevear did not know whether Gennarelli factored in the 2020-2021

           COVID-19 anomalous time period that drew criticism from Oscher

           because she “didn’t look closely at the underlying assumptions of that

           analysis.” (Id. at 84:11-16.)

       • When using the 18-month period Gennarelli used but applying Rosevear’s

           methodology, the lost profits are $2.6 million—40% less than the prior

           $4,440,002.42 Gennarelli demand. (Id. at 99:11-103:10.)

       • Rosevear’s damages model is “very different” from the Gennarelli

           Analysis, as she used a forecasting model based off branches Mutual

           viewed as “peer” branches and MBA data, which was not relied upon in

           the Gennarelli Analysis. (Id. at 123:16-124:5.)

      In sum, when asked if her analysis has nothing to do with the Gennarelli

Analysis, Rosevear agreed, stating: “That’s correct. My analysis is an independent

analysis.” (Id. at 124:17-20.) Rosevear further testified she had no obligation to

understand how her model differed from Gennarelli’s or discuss his assumptions and



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considerations, as she was to “conduct an independent analysis, that’s not influenced

by prior models.” (Id. at 175:19-176:1.)

      Nor is Rosevear’s analysis possibly in rebuttal to any opinion in the Oscher

Report because Oscher focused exclusively on the Gennarelli Analysis (and the

Category 1 and Category 3 damages Mutual appears to have abandoned). In fact,

when pressed to identify which aspects of the Oscher Report her report rebuts,

Rosevear paged through the Oscher Report, could not identify anything specific, and

offered that her analysis rebuts an “implied analysis” put forth in Oscher’s report. (Id.

at 134:8-136:19.) In addition, Rosevear pointed out that she and Oscher both

considered MBA data (id. at 137:8-15), although Rosevear admitted Oscher did not

calculate any Category 2 damages based on MBA data or otherwise. (Id. at 139:8-

140:21.)

      Further, when asked if she could have done her analysis in the winter of 2022

or the spring of 2023 — i.e., before Mutual’s March 1, 2023 opening expert

disclosure deadline — Rosevear indicated she could have done the analysis then: the

framework and approach would have been the same, with the damages being only

slightly different because she would have used data available at that time and not as

current as May or June of 2023. (Id. at 30:16-31:4, 42:21-24.)




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III.    ARGUMENT

   A.      Rosevear Is Not A Rebuttal Expert.

   “Rebuttal testimony is permitted only when it directly addresses an assertion

raised by an opponent's experts.” In re Trasylol Prod. Liab. Litig., No. 1:08-MD-01928,

2010 WL 4065501, at *2 (S.D. Fla. Aug. 30, 2010) (citation omitted). See Fed. R.

Civ. P. 26(a)(2)(D)(ii); Bradenton Beauty & Barber Academy, Inc. v. First Nat’l Ins. Co. of

America, 2017 WL 2868405, at *2 (M.D. Fla. April 6, 2017) (rebuttal evidence can

only be provided by an expert “to contradict or rebut evidence” on the same subject

matter of the opposing party’s expert).

        Put differently, “[r]ebuttal expert reports are only appropriate to rebut

opposing opinions, not create new ones.” Zurich American Ins. Co. v. Hardin, 2020 WL

1150981, at *3 (M.D. Fla. March 10, 2020). See also Lebron v. Royal Caribbean Cruises,

Ltd., No. 16-24687-CIV, 2018 WL 3583002, at *2 (S.D. Fla. July 26, 2018) (“a

rebuttal opinion should not be used to advance new arguments or present new

evidence”). A plaintiff is therefore not permitted to “offer testimony under the guise

of ‘rebuttal’ only to provide additional support for his case in chief.” Timber Pines

Plaza, LLC v. Kinsale Ins. Co., 192 F. Supp. 3d 1287, 1291 (M.D. Fla. 2016) (rebuttal

expert opinion that bolsters plaintiff’s initial expert witness and attempts to “obtain a

do-over” of the initial expert’s report is not proper rebuttal).




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       Here, Rosevear’s report and opinions are not rebuttal. Rosevear attempts to

inject a $28 million estimate that is nearly seven times greater than the $4,440,002.42

Gennarelli demand. Rosevear also made no attempt to consider the Gennarelli

Analysis and admits her analysis has nothing to do with the Gennarelli Analysis.

These admissions are dispositive because Oscher’s critique of the Category 2

damages focuses on the Gennarelli Analysis exclusively. Moreover, Rosevear

advances two wholly new methodologies for calculating damages and abandons the

methodology of Gennarelli that problematically relies upon the historically

anomalous 2020 and 2021 COVID-19 time period. Further, Rosevear relies upon

two entirely different data sets for her calculations: (1) the loan production of

Mutual’s St. Louis and Maryland branches, which she contends are “peer” branches

to the Daytona and Tampa branches that left Mutual and (2) MBA data. Gennarelli

never considered or used that data and, as result, Oscher never analyzed it either.

       That Rosevear was retained to advance new arguments in support of Mutual’s

damages is also clear from what is—and is not—included in her report. First,

Rosevear admits she was retained by Mutual “to calculate the lost profits” allegedly

resulting from the closure of its branches, not to rebut the conclusions or opinions

offered by Waterstone’s damages expert. Other than a footnote, the report omits any

reference to Oscher or his conclusions which is telling. See, e.g., Kroll v. Carnival Corp.,

No. 19-23017-CIV, 2020 WL 4793444, at *6 (S.D. Fla. Aug. 17, 2020) (expert’s

“phrasing alone confirms that rebutting [opposing expert] was not the primary intent

of his retention” where “most of his report did not even mention [opposing expert]”).

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         Second, Rosevear introduces two new Mutual of Omaha branches to the case.

 Discovery in the case has been ongoing for almost a year and Mutual has not once

 alleged that its St. Louis and Maryland branches are “peer” to Tampa and Daytona,

 let alone introduced them as a basis for seeking damages. Third, neither Mutual nor

 Oscher employed a “discounted cash flow (DCF) analysis” to any aspect of this case,

 yet Rosevear devotes an entire section of her report to explaining her use of this

 newly introduced valuation technique.

         Importantly, Oscher did not calculate Mutual’s lost profits—he reviewed and

 expressed an opinion on the Gennarelli Analysis Mutual put forward to support its

 Category 2 Damages, setting forth multiple reasons why the assumptions underlying

 Mutual’s $4,440,002.42 demand are speculative and unsupported. The subject matter

 of Oscher’s report was the Gennarelli Analysis. Rosevear does not even mention the

 Gennarelli Analysis, the $4,440,002.42 demand, or any of Mutual’s assumptions

 including the 18-month timeframe that are the focus of Oscher’s report. Rosevear

 further admitted she did not consider the Gennarelli Analysis and instead performed

 her own “independent analysis.”

         In sum, Rosevear’s opinions reflect a belated attempt by Mutual to introduce

 new arguments and evidence on damages. She is not a proper rebuttal expert.

    B.      The Court Should Strike Rosevear.

         The Court has authority “to strike an expert report as untimely disclosed if it is

 not a proper rebuttal report and instead introduces new topics.” Quantum Cap., LLC

 v. Banco De Los Trabajadores, No. 1:14-CV-23193-UU, 2015 WL 12156137, at *3

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 (S.D. Fla. Oct. 19, 2015) (citing 1550 Brickell Assocs. v. QBE Ins. Corp., No. 07-22283,

 2010 WL 1947636, at *2 (S.D. Fla. May 13, 2010)). Indeed, when “a party attempts

 to designate as a ‘rebuttal’ expert someone whose proposed testimony is beyond the

 scope of appropriate rebuttal, that witness may be viewed as an initial expert who

 was not timely designated and whose testimony may be stricken by the Court for

 violating Rule 26(a) and the Court's governing scheduling order.” Kroll v. Carnival

 Corp., No. 19-23017-CIV, 2020 WL 4793444, at *5 (S.D. Fla. Aug. 17, 2020). See also

 Bradenton Beauty & Barber Academy, Inc., 2017 WL 2868405, at *2 (M.D. Fla. April 6,

 2017) (expert who did not rebut the opposing expert’s opinions was “at best…an

 untimely disclosed expert”).

       Rule 37(c)(1) compels exclusion when an initial expert is submitted “under the

 guise of a rebuttal expert” unless the violating party can establish that the improper

 disclosure was substantially justified or harmless. Kroll, 2020 WL 4793444 at *5. See

 also Fed. R. Civ. P. 37(c)(1); Timber Pines Plaza, LLC, 192 F.Supp.3d at 1291

 (“pursuant to Rule 37(c)(1), ‘failing to disclose an expert witness by a court-ordered

 deadline results in an automatic and mandatory exclusion of the witness, unless the

 non-disclosure was justified or harmless’”).

       Foiled strategic decisions are no excuse. See, e.g., People v. Kinder Morgan

 Energy Partners, L.P., 159 F. Supp. 3d 1182, 1191 (S.D. Cal. 2016) (striking experts

 improperly designated as “rebuttal” and agreeing that plaintiff’s failure to disclose

 experts by the initial expert disclosure deadline “represents a strategic choice” that is

 “indefensible”). See also Marjum Supply Co. of Florida, LLC v. Pliteq, Inc., 812 Fed.

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 Appx. 803, 813 (11th Cir. 2020) (Plaintiff’s failure to designate expert as an

 affirmative expert as opposed to rebuttal was a “strategic error”).

       Here, Mutual chose not to retain a damages expert and to instead rely on the

 Gennarelli Analysis. Mutual could have timely disclosed Rosevear as its damages

 expert by the applicable March 1, 2023 expert disclosure deadline. Rosevear’s

 calculations are based on information and data that has been available to Mutual

 since this case was filed over a year ago (e.g., Mutual’s own profit and loss

 statements, tax returns, and information available online or other public sources).

 There is no new information relied upon by the Rosevear Report to come up with the

 $28 million lost profit estimate. In fact, Rosevear admitted she could have performed

 her same analysis in the winter of 2022 or the spring of 2023, well in advance of the

 March 1, 2023 deadline. (See Rosevear Dep. Tr. (Ex. 7) 30:16-31:4.) Mutual does not

 get a redo.

       To allow Rosevear to testify or for Mutual to use her report would be

 extremely prejudicial to Waterstone. Discovery closes in a few days, on July 31,

 2023. Waterstone invested substantial time and money evaluating and responding to

 the Category 2 Damages sought by Mutual, including deposing Gennarelli as the

 Mutual corporate representative about his analysis, retention of Oscher to respond to

 the $4,440,002.42 demand, subsequent discovery efforts, and preparation of the

 pending motion in limine to exclude Gennarelli’s analysis.




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       Further, the efforts to defend a $28 million case are not comparable to those

 necessary for a $4.4 million case. Waterstone would have approached its defense in a

 far more robust fashion and, at the very least would need to (1) redo the deposition

 of Mutual’s corporate representative, Gennarelli, who testified at length about his

 analysis in light of Rosevear’s drastically different estimate, which is intentionally

 divorced from some of Gennarelli’s speculative assumptions; (2) retain an expert to

 evaluate the Rosevear Report or expand the scope of Oscher’s engagement so that he

 could analyze the Rosevear Report and issue a new report of his own; and (3)

 conduct further, robust discovery upon Rosevear and Mutual, including requests for

 production of documents, as Waterstone only had three business days to review the

 Rosevear report before her deposition on July 20, 2023. It is well established that

 Waterstone should not be prejudiced in this fashion. See, e.g., Quantum Capital, LLC,

 2015 WL 12156137 at *3 (if a party is permitted to introduce new evidence through a

 rebuttal expert the opposing party would be “prejudiced by being unable to proffer

 their own rebuttal expert” on the topics); 1550 Brickell Associates, 2010 WL 1947636 at

 *2 (holding that allowing rebuttal witnesses to introduce new topics would cause

 prejudice in the form of additional time, expense, and further prolonging discovery,

 and striking improper rebuttal experts accordingly). The Court should strike

 Rosevear and hold Mutual to the $4,440,002.42 it elected to put forth through

 Gennarelli.




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 IV.   CONCLUSION

       For all of the reasons discussed, the Court should grant Waterstone’s motion
 and strike Candice Rosevear.


       Dated this 26th day of July, 2023.
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                          LOCAL RULE 3.01(G) CERTIFICATION

          Pursuant to Local Rule 3.01(g), Waterstone’s counsel certifies it conferred in

 good faith with Mutual’s counsel concerning the issues presented in this Motion.

 Specifically, counsel exchanged e-mails about the motion on July 20, 2023 and spoke

 by phone on July 21, 2023 regarding the grounds for the motion. Mutual opposes the

 motion.

 Dated this 26th day of July, 2023.       s/Maria L. Kreiter
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